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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA

                v.                                     Case No. 19-cr-18 (ABJ)

  ROGER J. STONE, JR.,


                               Defendant.


                             JOINT STATEMENT OF THE CASE
       The parties propose the following joint statement of the case:

       In January 2017, the U.S. House of Representatives Permanent Select Committee on

Intelligence (“HPSCI”) announced an investigation into Russian interference in the 2016 U.S.

presidential election, which included investigation of allegations of links between Russia and

individuals associated with political campaigns.

       In the summer of 2016, WikiLeaks released tens of thousands of documents stolen from the

Democratic National Committee and the personal email account of the chairman of the U.S.

presidential campaign of Hillary Clinton. The HPSCI investigation examined Russian cyber

activity and other active measures directed at the 2016 U.S. election. On or about September 26,

2017, Stone testified before HPSCI in Washington, D.C.

       The grand jury has charged Stone in a seven-count indictment. Count One alleges that from

May 2017 to December 2017, Stone obstructed the HPSCI investigation by testifying falsely at the

HPSCI hearing, by failing to turn over and lying about the existence of records relevant to HPSCI’s

investigation, by submitting a false and misleading letter to HPSCI, and by tampering with another

witness in the HPSCI investigation named Randy Credico. Counts Two through Six allege that

Stone knowingly and willfully made false statements to HPSCI in his September 2017 testimony.

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Count Seven alleges that Stone knowingly and intentionally corruptly persuaded another witness in

the HPSCI investigation named Randy Credico by attempting to persuade Credico to testify falsely

before HPSCI or not to testify at all.

       The Indictment returned by the grand jury is not evidence, but is merely the way that a

person is charged with a crime in order to bring him to trial. Stone has pleaded not guilty to all

charges in the Indictment. Stone is presumed to be innocent of the charges filed against him. The

government is required to prove that Stone committed the crimes with which he is charged beyond

a reasonable doubt.




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